Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 1of24 Page ID #99

UNITED STATES DISTRICT COURT

 

 

 

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for the
Southern District of Ilinois
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Madt\\& Sones © 4-194
p cweetcncas: (Bev orl?3—-SMYy _
) (Clerk's Office will provide)
)
Piaintiff(s)/Petitioner(s) )
v. ) $4CIVIL RIGHTS COMPLAINT
) pursuant to 42 U.S.C. §1983 (State Prisoner)
Sean Surlsw tubecnal NGaacs ices DO CIVIL RIGHTS COMPLAINT
Ms, Butlec Menrai eatin Cec sonnel _ ) pursuant to 28 U.S.C. §1331 (Federal Prisoner)
wer SKylee claus face, 0) «~O CIVIL COMPLAINT
)

Sacqucl

Defendant(s)/Respondent(s)
ne ences and Soln Vee

pursuant to the Federal Tort Claims Act, 28 U.S.C.
§§1346, 2671-2680, or other law

—

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I. JURISDICTION 23 US5¢ 1331

Plaintifé:

A.

AMESDED ComMeLAsnT

Plaintiff's mailing address, register number, and present place of
confinement.

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Malik Senes *Y-142.4\
Pontiac Co crectional CenXec

Defendant #1:

B.

Rev. 7/20/18

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Defendant Gan Yuclous is employed as
(a) (Name of First Defendant)

Suecnal, pEPons of cer / chat

 

 

(b) (Positior/ Title)
with Degack wank & CoccecKX Pons
{c) (Employer's Name and Address)

 

At the time the claim(s) alleged this complaint arose, was Defendant #1
employed by the state, local, or federal government? y Yes ONo

If your answer is YES, briefly explain:

S ike weer — Stateville Coveecttona\ rier
~~~ Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 2 of 24 Page ID #100

Defendant #2:

C. Defendant Buk \er is employed as

(Name of Second Defendant)

Mental bhealn 2ecsonnei

(Pesitiony Title)

with Vedat yrent oX Correclpons

{Employer's Name and Address)

Hy Kastas bia Soret Menard, Ei 62054

 

Aft the time the claim(s) alleged in this complaint arose, was Defendant #2

 

employed by the state, local, or federal government? bd Yes LI No

If you answer is YES, briefly explain:

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D. Using the outline set forth above, identify any additional Defendant(s).

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Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 3 of 24 Page ID #101

Ir. PREVIOUS LAWSUITS

A. Have you begun any other lawsuits in state or federal court while you
were in prison or jail (during either your current or a previous time in prison or
jail), e.g., civil actions brought under 42 U.S.C, $1993 fete steph ORTTEE ©
1331 (federal prisoner), 28 U.S.C. §§ 1346, 2671-268u, vi Our ais ics Kiso

B. If your answer to “A” is YES, describe each lawsuit in the space below. If
there is more than one lawsuit, you must describe the additional lawsuits
on another sheet of paper using the same outline. You must list ALL
lawsuits in any jurisdiction, including those that resulted in the assessment
of a “strike” under 28 U.S.C. § 1915(g) and/or those that were dismissed
for being frivolous, malicious, or for failure to state a claim (see 28 U.S.C. §
1915A; 28 U.S.C. § 1915(e)(2); Federal Rule of Civil Procedure 12(b)(6)).
FAILURE TO FULLY DISCLOSE YOUR LITIGATION HISTORY,
INCLUDING “STRIKES,” MAY RESULT IN SANCTIONS THAT
INCLUDE DISMISSAL OF THIS ACTION.

1. Parties to previous lawsuits:
Plaintiff(s):
Defendant(s):

2. Court (if federal court, name of the district; if state court, name of
the county):

3. Docket number:
4, Name of Judge to whom case was assigned:
5. Type of case (for example: Was it a habeas corpus or civil rights

action?):

6. Disposition of case (for example: Was the case dismissed? Was it
appealed? Is it still pending?):

7: Approximate date of filing lawsuit:
Rev. 7/20/18 3
Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 4 of 24 Page ID #102

8. Approximate date of disposition:

9, | Was the case dismissed as being frivolous, malicious, or for failure to
state a claim upon which relief mav be cranted and/or did the court

Ill. GRIEVANCE PROCEDURE
A. Is there a prisoner grievance procedure in the institution? Yes ONo

B. Did you present the facts relating to your complaint in the prisoner
grievance procedure? bf Yes ONo

C. If your answer is YES,
1. What steps did you take?

UGynergency (Perevence”

2. What was the result?

Senree

D. If your answer is NO, explain why not.

E. If there isno prisoner grievance procedure in the institution, did you
complain to prison authorities? OlYes ONo
E If your answer is YES,

1. What steps did you take?

2, What was the result?

Rev. 7/20/18 4
Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 5 of 24 Page ID #103

G. If your answer is NO, explain why not.

H. Attach copies of your request for an administrative remedy and any
response you received. If you cannot do so, explain why not

Rev. 7/20/18

in
Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 6 of 24 Page ID #104

IV. STATEMENT OF CLAIM

A. State here, as briefly as possible, when, where, how, and by whom you
feel your constitutional rights were violated. Do not include legal
arguments or citations. If you wish to present legal arguments or
citations, file a separate memorandum of law. If you intend to allege a
number of related claims. number and set forth each claim in a
separgie Patagrapi. 42 i he

proceedings, attach copies of the disciplinary : charges and any
disciplinary hearing summary as exhibits. You should also attach any
relevant, supporting documentation.

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Rev. 7/20/18 6
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V. REQUEST FOR RELIEF

State exactly what you want this court to do for you. If you are a state or federal
prisoner and seek relief which affects the fact or duration of your imprisonment (for
example: illegal detention, restoration of good time, expungement of records, or
pany ee must file your claim ona habeas corpus form, pursuant to 28 U.S.C.

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VI. JURY DEMAND (check one box below)

The plaintiff does CO) does not request a trial by jury.

DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11
Icertify to the best of my knowledge, information, and belief, that this complaint is in full

compliance with Rule 11{a) and 11(b) of the Federal Rules of Civil Procedure. The
undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.

Signed f oF /

 

 

 

 

 

 

 

on: (date) Righature of Plaintiff
Malic. Jones
Street Address Printed Name
447)
City, State, Zip Prisoner Register Number
Signature of Attorney (if any)

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Case 3:18-cv- 02173- SMY Document 36 Filed 10/21/19 Page 8 of 24 Page ID #106

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Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 10 of 24 Page ID #108 |

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Case 3:18-cv-02173-SMY Document 36 Filed 10/21/19 Page 16 of 24 Page ID #114

»~ . 5
ILLINOIS DEPARTMENT OF CORRECTIONS Fu } w B

Administrative Review Board
Return of Grievance or Correspondence

Offender: (omita My L hk

Last Name First Name Mi

very
Facility: / for cK

BVCff7

 

 

Grievance: Facility Grievance # {if applicable) Dated: [L), or [J Correspondence: Dated:
Received: of/ oy J Regarding: 4 i l i Lf Y LZ ‘ @ wok
Date ¥ /, iy i: a

 

The attached grievance or correspondence is being retumed for the following reasons:

 

Additional information required:
Provide your original written Offender’s Grievance, DOC 0046, including the counselor's response, if applicable.

Provide a copy of the Response to Offender’s Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
Officer's response, to appeal; if timely.

Provide dates when incidents occurred.

Ooo O00

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board

Office of Inmate Issues

1301 Concordia Count, Springfield, IL 62754-9277

 

Misdirected:
C1 Contact your correctional counselor or Field Services regarding this issue.

OO Request restoration of Statutory Sentence Credits to Adjustment Committee. ff the request is denied by the facility, utilize the
offender grievance process outlined in Department Rule 504 for further consideration.

C1 Contact the Record Office with your request or to provide additional information.

[] Personal property and medical issues are to be reviewed at your current facility prior to review by the Administrative Review
Board.

= (C] Address concems in a letter to: Illinois Prisoner Review Board, 319 E. Madison St., Suite A, Springfield, IL 62706

 

No further redress:

C Award of Supplemental Sentence Credits are discretionary administrative decisions: therefore, this issue will not be addressed
further.

Administrative Transfer denials are discretionary administrative decisions; therefore, this issue will not be addressed further.
Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.

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[] Administrative Review Board received the appeal 30 days past date of Chief Administrative Officer's decision; therefore, this
issue will not be addressed further.
i This office previously addressed this issue on 4/ i / / 7
| No justification provided for additional consideration. ne

 

 

Other (specity}:

 

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Case 3:18-cv-02173-SMY Document 36 Filed JOP 1/19, ofecdGnchy’ Of 24 Page Lik b <
7h

OFFENDER'S GRIEVANCE Nbv

Date: Offender: = Tones Bee 1/924

(Piuase Prewj)

 

 

   
   
 

 

Prosant Facility:

 

C.C. Faciity where grievance AACNARO C.-C.

 

NATURE OF GRIEVANCE:

OO Personal Property OO Mail Handing (2) Restoration of Good Time (0 ADA Disability Accommodation

 

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Note: Protective Custody Demals may be gheved immediately via the local adminstravon on ihe protective cusioty Stalus noting)

Complete: Attach a copy of ony pertinent A (auch az @ Disciplinary Report, Bh AS Record, ee) and sand to:

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Chief Administrative Otticar, only ii EMERGENCY grevance
Administrative Review Board, only if the issue involves transtor denial by the Transter Coosinalor, protective custody, wivoluntary
adminstraion of psychotropic drugs, issues fiom anolher facHay excep! personal property issues. Of Sssue3 nol rasolved by the Civet

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Summary of Grlevance (Provide intormgtion Including # descriptian of what happened, when and where II heppanad, and the name o¢ identilying information
for each pereon involved): AC 2AM EF UOMAe onthe Leo edd in mene) 86 i wink orsarweh—
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(Conunve on reverns side if necessary)

| Counselor's Reaponse (il applicable) |
Date ADMINISTRATIVE
Received: i i DD Send directty to Gnevance Officer EJ Outede junsdectlon CL ANGTED

Admuustrative Review Board, P.O Box 19277,
Spangheld, tl 62794-9277

 

 

 

 

 

 

 

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Response:
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Pont Counselor's Name Counselor's Signatwe Dale ol Response
| EMERGENCY REVIEW _—|
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Received: i i Ig thus determined ta be of an emergency nature? [] Yes, expedite emergency guevance
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Peet benin Masta Fide Gieiber Page 1 DOC O46 (82012)

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t OFFENDER'S GRIELANCE cle NOE Page 18 of 24 Page ID #116

 

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OFFENGER'S GRIEVANCE intA bf?
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Prasant Facility: Facility where grievance

Menacd Cy Cente _| teaua occurred: MENARD Coltechenrel) Cl]

 

 

 

 

 

 

NATURE OF GRIEVANCE:
0, Personal Property OO Mail Handing OJ Resioration of Good Time = = ADA Disability Accommodation
Staff Conduct 0 Dietary OO Medical Treatment 0 HIPAA
01 Transfer Denial by Facility [] Transfer Denial by Transfer Coordinator D0 Cthar tepectys:
C1 Disciplinary Report: i f 2

 

Date of Report Facility where Issued
Note: Protective Cuslody Denials may be grieved Immadiately via the Jocal administration on tha protective custody status nolification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and sand to:

Counselor, unless the Issue Involves disciplina, is deemed an emergency, or is subject to direct raview by the Administrative Raview Board,
Grievance Otficer, only if tne Issue involves discipline at the present facility or issua not resolved by Counselor.

Chief Administrative Olficar, ony li EMERGENCY grievance.

Administrative Review Board, only if tha issue involves iranstar denial by the Transler Coordinator, protective custody, involuntary
administration of psychotropic drugs, Issues from another facility axcept personal property issues, of issues not resolved by the Chief
Administrative Officer.

Summary of Grievance (Provide information Including description of what heppaned, when and whore Ji happensd, and the name or Idenilfying Informailon
for each p \ id):

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Relief Requested: Ele Pade avec Vor Celre€

 

 

 

 

ret Check only if this ls an EMERGENCY grievance due to a substantial risk of Imminent personal injury or other serious or irreparable harm to sel!.

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(Continue on reverse side If necessary)

 
 

 

   

Offenders Signature

 

 

 

| Counselor's Response (if applicable) | ADMINISTRATIVE
Date
Received: ! i Cl Send directly io Grievance Officer —-«L}._Qutaide jrisdicdonnal tes Tay Send Wo

Administrative Review Board, P.O. Bax 19277,
Springfield, IL 62794-8277

 

 

 

 

 

 

 

 

Response:
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Print Counsator's Name Counselor's Signature Dala of Rasponsa
| sEMERGENCYREVIew |
Date
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(1 No; an emergency is nol substantiated.
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in the nomial manner.

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‘Chie! Administrative Olficers Signature Date

 

 

 

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OFFENDER'S GRIEVANCE (Continued)

 

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Jones v. Doe, et al. (18-2173) Document No.: 000012
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ILLINGIS DEPARTMENT OF CORRECTIONS

Administrative Review Board
Return of Grievance or Correspondence

Offender: Conn Mag L kh _ VI 4 A}

Facility: POW

C) Grievance: Facility Grievance # (# applicable)

Received: _| regarding:

Last Name First Nama

   
 
 
 

vated: IDOI | | or (] Correspondence: Dated:

 

 

 

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The attached grievance or correspondence Is being returned for the following reasons:

 

Additional information required:

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Provide your original written Offender’s Grievance, DOC 0046, including the counselor's response, if applicable.

Pravide a copy of the Response to Offender’s Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
Officer's response, to appeal; if timely.

Provide dates when incidents occurred.

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board

Office of Inmate Issues

1304 Concordia Court, Springfield, I__62794-9277

 

 

Misdirected:

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Contact your correctional counselor or Field Services regarding this issue.

Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request Is denied by the facility, utilize the
offender grievance process outlined in Deparment Rule 504 for further consideration,

Contact the Record Office with your request or to provide additional information.

Personal properly and medical Issues are to be reviewed at your current facility prior to review by the Administrative Review
Board.

Address concerns ina letter lo: Illinois Prisoner Review Board, 319 E. Madison St., Suite A, Springfield, IL 62706

 

 

No further redress:

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‘et No justification provided for additional consideration.

Award of Supplemental Sentence Credits are discretionary administrative decistons; therefore, this issue will not be addressed
further,

Administrative Transfer denials are discretionary administrative decisions; therefore, this Issue will not be addressed further.
Not submitled in the timeframe outlined in Department Rule 504; therefore, this Issue will not be addressed further.

Administrative Review Board recelved the appeal 30 days past date of Chief Administrative Officer's decision; therefore, this
issue will not be addressed further,

This office previously addressed this issue on
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Completed by: Melissa Phoenix Vi bio Ih OGL) 5] [I | [7

Print Name " Signature Cate

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inmate Issues

Jones v. Doe, et al. (18-2173) Document No.: 000011
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ILLINO!S DEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE (Continuad)

 

 

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